Case 1:17-cv-00928-CPO-EAP Document 125-15 Filed 07/05/22 Page 1 of 3 PageID: 1299




    MARKS, O’NEILL, O’BRIEN,
    DOHERTY & KELLY, P.C.
    Christian M. Scheuerman, Esquire                ATTORNEY FOR DEFENDANT
    Attorney I.D. 027102007                         Healthcare Revenue Recovery
    Jonathan R. Stuckel, Esquire                    Group, LLC
    Attorney I.D. 261862018
    535 Route 38 East
    Suite 501
    Cherry Hill, NJ 08002
    (856)663-4300

    447-102973(CMS/JRS)
                                                            UNITED STATES
    Elaine Levins and William Levins, on                    DISTRICT COURT
    behalf of themselves and others similarly
    situated                                        DOCKET NO. 1:17-cv-928-RBK-
                                                             KMW
                   vs.
                                                              CIVIL ACTION
    Healthcare Revenue Recovery Group,
    LLC d/b/a ARS Account Resolution                     DECLARATION OF
    Services                                            DAVID FRIEDLANDER


              I, David Friedlander, do hereby declare and certify under penalty of

    perjury as following:

             1.    I am the President of Healthcare Revenue Recovery Group, LLC

    (“HRRG”), and have personal knowledge about this case.

             2.    I submit this declaration in support of HRRG’s motion for summary

    judgment.




   {NJ287836.1}
Case 1:17-cv-00928-CPO-EAP Document 125-15 Filed 07/05/22 Page 2 of 3 PageID: 1300




             3.   Exhibit K, submitted in support of HRRG’s Statement of Facts, is a

    “Final Notice” sample letter that Plaintiffs received before receiving any contact

    from ARS Account Resolution Services (“ARS”).

             4.   The “Final Notice” sample letter is a form letter sent to consumers

    by HRRG’s letter vendor.

             5.   HRRG does not retain the sent copies of the “Final Notice” sample

    letter sent to consumers.

             6.   However, Plaintiffs’ Final Notice letter would have contained the

    same substantive information with the addition of their address in the “SAMPLE

    PATIENT” field, account number, and creditor information.

             7.   The Final Notice letter is sent to consumers with severely delinquent

    accounts and advises them that they may receive contact from ARS, a division of

    HRRG.

             8.   This Final Notice would have preceded any collection efforts by the

    ARS division.

             9.   This affidavit is made on personal knowledge and I am competent to

    testify on the matters stated herein.




   {NJ287836.1}
Case 1:17-cv-00928-CPO-EAP Document 125-15 Filed 07/05/22 Page 3 of 3 PageID: 1301




            Per 28 U.S.C. 1746, I hereby declare and certify under penalty of perjury

    that the above is true and correct.


                                           /s/ David M. Friedlander
                                           David M. Friedlander
                                           President
                                           Healthcare Revenue Recovery Group, LLC

    Dated: July 5, 2022




   {NJ287836.1}
